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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION


 AMAZON.COM,INC. and AMAZON
 DATA SERVICES,INC.,

                Plaintiffs,

         V.                                                    CASE NO. I:20-CV-484

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS;BRIAN
  WATSON;STERLING NCP FF, LLC;                        FILED UNDER SEAL PURSUANT TO
  MANASSAS NCP FF, LLC; NSIPI                         LOCAL RULE 5
  ADMINISTRATIVE MANAGER;NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; JOHN DOES 1-20,

                Defendants.



                              ORDER GRANTING PLAINTIFFS' MOTION FOR A
                                 PRELIMINARY INJUNCTION


         On April 27, 2020, Amazon.com, Inc. and Amazon Data Services, Inc. ("Plaintiffs" or

 "Amazon")filed a Verified Complaint for injunctive and other relief pursuant to:(1)the Racketeer

  Influenced and Corrupt Organizations (RICO) Act, 18 U.S.C. § 1961 et seq., alleging predicate

  acts of wire fraud in violation of 18 U.S.C. §§ 1341, 1343, 1346; money laundering in violation of

  18 U.S.C.§ 1956; transactions in property derived from specified unlawful activity in violation of

  18 U.S.C. § 1957; and violations of the Travel Act, 18 U.S.C. § 1952;(2)detinue pursuant to Va.

  Code § 8.01-114;(3)common law fraud;(4)tortious interference with contractual and/or business

  relations;(5)civil conspiracy;(6)breach of contract;(7)unjust enrichment;(8)conversion and/or

  constructive trust; and (9) alter ego/piercing the corporate veil. On April 28, 2020, the Court

  granted Plaintiffs' Application for an Ex Parte Temporary Restraining Order("TRO") and Order

  to Show Cause Why a Preliminary Injunction Should Not Issue ("Application"). See Dkt. 16.
                                                                     (PROPOSED]ORDER GRANTING
                                                  j                  PRELIMINARY INJUNCTION
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